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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


ANGELA MALCICH,                                  )
                                                 )
Plaintiff,                                       )
                                                 )
v.                                               )     No. 4:20-cv-01030-AGF
                                                 )
ST. LOUIS COUNTY, et al.,                        )
                                                 )
                                                 )
Defendants.                                      )

                              MEMORANDUM AND ORDER

       This matter is before the Court on Plaintiff Angela Malcich’s Motion for Leave to

File Under Seal. (Doc. No. 156). Plaintiff asks the Court to 1) retroactively seal certain

exhibits she had previously filed on the public docket and 2) grant her leave to file newly

filed exhibits under seal. Plaintiff notes that the protective order previously entered in this

matter requires certain exhibits to be filed under seal. (Doc. No. 18). Local Rule 13.05

governs the sealing of materials filed in civil cases. It requires the proponent of sealing to

file a motion for sealing describing:

        (i) the material or information sought to be filed under seal without disclosing

        the substance of the material sought to be kept confidential; (ii) the legal

        grounds for the sealing; and (iii) the requested duration for the sealing or, if

        the proponent requests that the material remain sealed indefinitely, the

        reasons supporting the request.
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E.D.Mo. Local Rule 13.05(A)(4)(a). Additionally, within three business days of filing the

motion for sealing, the movant must file either a redacted copy of the subject documents in

the public record or a memorandum explaining the specific reasons for the failure or

inability to file a redacted document. E.D.Mo. Local Rule 13.05(A)(4)(c).

      Plaintiff first requests that the following exhibits she previously filed in the public

record be sealed: Doc. Nos. 108-4, 108-8, 108-11, 111-2, 111-3, 111-4, 111-5, 111-9, and

114-4. (Doc. No. 156). Plaintiff explains that these documents contain medical

information and statements from non-parties related to internal affairs investigations. The

Court will seal these documents and order Plaintiff to file either a redacted copy of the

subject documents or a memorandum explaining why a redacted copy cannot be filed

within three business days, in compliance with Local Rule 13.05. Plaintiff does not specify

the requested duration for the sealing, so the Court will seal the documents until further

order of the Court.

      Plaintiff next requests the Court grant her leave to file her newly filed exhibits,

Exhibits 5, 6, 10, 11, 13, and 24 under seal. (Doc. No. 157). In compliance with Local

Rule 13.05, Plaintiff filed redacted copies of Exhibits 5, 6, 10, 11, and 13. (Doc. No. 158).

Plaintiff explains that these exhibits also contain medical information and statements from

non-parties related to internal affairs investigations. For the reasons set forth in Plaintiff’s

motion, the Court will grant Plaintiff’s motion and seal the exhibits until further order of the

Court.

         However, Plaintiff explains that she is unable to provide a redacted version of



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Exhibit 24 because Defendant St. Louis County designated the exhibit as confidential.

(Doc. No. 159). Plaintiff states that she does not oppose publishing the document in the

public record and is unaware of what specifically St. Louis County believes is confidential.

“The fact that certain information or material has been protected as confidential by parties

in a case pursuant to a Protective Order is relevant to, but not dispositive of, whether this

information or material will be sealed when filed with the Court.” E.D.Mo. Local Rule

13.05. The Court will order St. Louis County to file a redacted copy of Exhibit 24 or a

notice explaining why a redacted copy cannot be filed. The mere fact that the exhibit was

produced pursuant to a protective order is not a sufficient basis to seal the exhibit.

      Accordingly,

         IT IS HEREBY ORDERED that Plaintiff’s Motion for Sealing is GRANTED.

(Doc. No. 156).

         IT IS FURTHER ORDERED that the exhibits Plaintiff filed under seal, (Doc. No.

157), shall remain sealed until further order of the Court.

         IT IS FURTHER ORDERED that the Clerk of the Court shall seal Doc. Nos. 108-

4, 108-8, 108-11, 111-2, 111-3,111-4, 111-5, 111-9, and 114-4 until further order of the

Court.

         IT IS FURTHER ORDERED that Plaintiff shall file, within three business days

redacted copies of Doc. Nos. 108-4, 108-8, 108-11, 111-2, 111-3,111-4, 111-5, 111-9, and

114-4 or a memorandum explaining why redacted copies cannot be filed.


      IT IS FURTHER ORDERED that St. Louis County shall file a redacted copy of


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Exhibit 24 or a notice explaining why a redacted copy cannot be filed within seven days.



                                         AUDREY G. FLEISSIG
                                         UNITED STATES DISTRICT JUDGE

Dated this 24th day of June, 2022.




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